Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 1 of 18 PageID #:45578




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

IN RE TURKEY ANTITRUST LITIGATION        NO. 19-CV-08318

THIS DOCUMENT RELATES TO:                HON. SUNIL R. HARJANI

COMMERCIAL AND INSTITUTIONAL             HON. KERI L. HOLLEB HOTALING
INDIRECT PURCHASER PLAINTIFF
ACTION


MEMORANDUM IN SUPPORT OF UNCONTESTED MOTION FOR PRELIMINARY
APPROVAL OF COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASER
 PLAINTIFFS’ SETTLEMENTS WITH FARBEST FOODS AND COOPER FARMS
 Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 2 of 18 PageID #:45579




                                                    TABLE OF CONTENTS

I.      INTRODUCTION ................................................................................................................. 1

II.     LITIGATION AND SETTLEMENT BACKGROUND ....................................................... 1

III.    SUMMARY OF THE SETTLEMENT AGREEMENTS ..................................................... 2

IV.     THE SETTLEMENTS ARE ON BEHALF OF THE CERTIFIED CLASS ........................ 4

V.      SUMMARY OF SETTLEMENT NEGOTIATIONS AND TERMS .................................. 4
        A.  Farbest Foods. ........................................................................................................... 4
        B.  Cooper Farms ............................................................................................................ 5
        C.  Terms of the Settlement Agreements. ....................................................................... 5

VI.     STANDARDS APPPLICABLE TO PRELIMINARY APPROVAL OF THE PROPOSED
        SETTLEMENTS................................................................................................................... 7

VII.    THE COURT SHOULD APPROVE THE SETTLEMENTS UNDER RULE 23(E)(2) ...... 8
        A.   The Settlements are Fair and Resulted from Arm’s-Length Negotiations ................ 9
        B.   The Relief Provided for the Class is Substantial and Tangible ............................... 10
        C.   The Settlements Treat Class Members Equitably Relative to Each Other .............. 11

VIII.   CIIPPS WILL SUBSEQUENTLY PROVIDE A PROPOSED NOTICE PLAN ................ 12

IX.     CONCLUSION ................................................................................................................... 12




                                                                 ii
   Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 3 of 18 PageID #:45580



                                                 TABLE OF AUTHORITIES

Cases

Am. Int’l Grp., Inc. v. ACE INA Holdings, Inc.,
 No. 07-cv-298, 2012 WL 651727 (N.D. Ill. Feb 28, 2012) .......................................................... 10

Armstrong v. Bd. of Sch. Dirs.,
  616 F.2d 305 (7th Cir. 1980) ........................................................................................................... 8

Gautreaux v. Pierce,
 690 F.2d 616 (7th Cir. 1982) ........................................................................................................... 8

Goldsmith v. Tech. Solutions Co.,
 No. 92-C-4374, 1995 WL 17009594 (N.D. Ill. Oct. 10, 1995) ..................................................... 11

Hanrahan v. Britt,
 174 F.R.D. 356 (E.D. Pa. 1997) .................................................................................................... 11

In re AT&T Mobility Wireless Data Servs. Sales Litig.,
  270 F.R.D. 330 (N.D. Ill. 2010) .................................................................................................... 11

In re Automotive Parts Antitrust Litig.,
  No. 12-md-02311, 2015 WL 13715591 (E.D. Mich. Dec. 7, 2015) ............................................... 3

In re Automotive Parts Antitrust Litig.,
  No. 12-md-02311, 2018 WL 7108072 (E.D. Mich. Nov. 5, 2018) ................................................. 3

In Re Disposable Contact Lens Antitrust Litig.,
  No. 3:15-md-2626-HES-JRK (M.D. Fla. March 4, 2020) .............................................................. 3

In re Linerboard Antitrust Litig.,
  292 F. Supp. 2d 631 (E.D. Pa. 2003).............................................................................................. 11

In re Packaged Ice Antitrust Litig.,
  No. 08-MD-01952, 2011 WL 717519 (E.D. Mich. Feb. 22, 2011) ................................................ 4

In re Payment Card Interchange Fee and Merch. Discount Antitrust Litig.,
  330 F.R.D. 11 (E.D.N.Y. 2019)........................................................................................... 9, 12, 13

In re Pool Prods. Distrib. Mkt. Antitrust Litig.,
  MDL No. 2328, 2016 WL 235781 (E.D. La. Jan. 20, 2016) .......................................................... 3

In re TFT- LCD (Flat Panel) Antitrust Litig.,
  No. 07-md-01827 (N.D. Cal. Feb. 17, 2011) .................................................................................. 3

In re Transpacific Passenger Air Transp. Ass’n,
  No. C-07-05634 CRB, 2015 WL 3396829 (N.D. Cal. May 26, 2015) ........................................... 3

Rules

                                                                    iii
   Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 4 of 18 PageID #:45581



Fed. R. Civ. P. 23 ....................................................................................................................... passim

Other Authorities

4 NEWBERG AND RUBENSTEIN ON CLASS ACTIONS ......................................................................... 5, 8

Manual for Complex Litig., § 30,41 (3d ed.) ...................................................................................... 9




                                                                       iv
     Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 5 of 18 PageID #:45582



    I.     INTRODUCTION

          Commercial and Institutional Indirect Purchaser Plaintiffs (“CIIPPs”) have reached proposed

Settlements with Defendants Farbest Foods, Inc. and Cooper Farms, Inc. (collectively, the “Settling

Defendants”) on behalf of the Certified Class. 1 Pursuant to the Settlement Agreements, within 21

days of the Court granting preliminary approval, Farbest Foods and Cooper Farms will each pay

$562,500 (five hundred sixty-two thousand five hundred U.S. dollars) into separate interest-bearing

Escrow Accounts for the benefit of the Certified Class. (Flannery Decl., ¶ 9). In addition to payment

of these Settlement Funds, Settling Defendants will provide meaningful cooperation which will assist

CIIPPs in the prosecution of their claims against the remaining Defendants, including provision of

trial witnesses and authenticating and providing foundation for documents, which will assist CIIPPs

in presenting their claims against the remaining Defendants to the jury at trial. (Id.).

          CIIPPs respectfully move the Court for Preliminary Approval of the Settlement Agreements

with Farbest Foods and Cooper Farms. In a separate motion, CIIPPs will ask the Court to approve a

proposed plan for disseminating notice to the Certified Class, to appoint an administrator to

implement the notice plan, and to schedule a Final Fairness Hearing for the Settlement. 2

          As described below, the settlements are fair, reasonable, and adequate, and satisfy all the

factors required for preliminary approval.

    II.    LITIGATION AND SETTLEMENT BACKGROUND

          Because the Court is very familiar with this case, CIIPPs will not provide a detailed recitation

of the litigation background. See, e.g., Class Certification Order (ECF No. 1107). CIIPPs note,



1
  See Declaration of Michael J. Flannery (“Flannery Decl.”), Ex. A (Long-Form Settlement Agreement
Between Commercial and Institutional Indirect Purchaser Plaintiffs and Farbest Foods (“Farbest Foods
Settlement”)), Ex. B (Long-Form Settlement Agreement Between Commercial and Institutional Indirect
Purchaser Plaintiffs and Cooper Farms (“Cooper Farms Settlement”)) (collectively, the “Settlement
Agreements”). Capitalized terms in this memorandum are defined in the Settlement Agreements.
2
  At this time, CIIPPs are not seeking payment of attorneys’ fees, service awards, or current and ongoing
expenses from the proceeds of the Settlements but will do so at a later date.

                                                    1
  Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 6 of 18 PageID #:45583



however, that the Court’s Class Certification Order has positively impacted settlements in this case.

Prior to the Court’s certification of the CIIPP class, CIIPPs received final approval for a settlement

with Tyson Defendants for $1,750,000 in monetary relief and material cooperation from Tyson to

the CIIPP class. (ECF No. 433, ECF No. 190-1, No. 1:20-cv-2295 (N.D. Ill. July 6, 2021)). Since the

Class Certification Order, in February 2025, CIIPPs reached proposed Settlements with Farbest

Foods and Cooper Farms. (ECF Nos. 1150, 1151).

 III.    SUMMARY OF THE SETTLEMENT AGREEMENTS

        The CIIPPs reached the Settlement Agreements with Farbest Foods and Cooper Farms after

hard-fought litigation and arm’s-length negotiations. (Flannery Decl., ¶ 6). The Settling Defendants

have each agreed to pay $562,500 into Escrow Accounts for the benefit of the Certified Class and to

cooperate with CIIPPs in their ongoing investigation and prosecution of their claims. (Id. at ¶ 9). The

Settling Defendants’ cooperation includes providing CIIPPs, upon reasonable request, with (a)

declarations or affidavits relating to whether documents identified in Appendix A of the parties’

Evidentiary Stipulation dated January 9, 2025, satisfy the factual predicates for a record of regularly

conducted activity within the meaning of F.R.E. 803(6); (b) comparable declarations or affidavits

relating to up to 30 additional documents not on the aforementioned Appendix A; and (c) up to two

current employees of each Settling Defendant to appear as witnesses at trial. (Id.).

        In consideration for these monetary and non-monetary benefits, CIIPPs agree, among other

things, to release their Released Claims against the Settling Defendants that were, or could have been,

brought in this litigation arising from the conduct alleged in the Complaint. This release does not

extend to any other Defendants. (See Settlement Agreements ¶ 15). In addition, consistent with the

judgment-sharing agreement between certain Defendants, CIIPPs agree that in the event they obtain

a verdict and judgment against any Defendants other than the Settling Defendants, those non-settling

Defendants would not be jointly and severally liable for the Settling Defendants’ share of the



                                                 2
     Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 7 of 18 PageID #:45584



damages. (Id. at ¶ 11).

           Subject to the approval and direction of the Court, the Settlement Funds (with accrued

interest) will be used to: (1) pay for notice costs and costs incurred in the administration and

distribution of the Settlements; (2) pay taxes and tax-related costs associated with the Escrow Account

for proceeds from the Settlements; (3) make a distribution to the Certified Class in accordance with

a plan to be filed in the future; 3 and (4) pay attorneys’ fees, litigation expenses, and service awards

in accordance with a plan to filed in the future.

           Additionally, subject to Court approval, the Settlement Agreements permit Co-Lead Class

Counsel to separately withdraw up to $250,000 from each of the Settlement Funds to “pay the costs

of notice and for Preliminary Approval, Final Approval, and the administration of the claims process

for this Settlement Agreement. (Id. at ¶ 6.d.). Any costs of notice actually incurred by Co-Lead Class

Counsel are non-refundable. (Id. at ¶ 6.e.). At this time, Co-Lead Counsel ask the Court to permit

them to withdraw up to $65,000 from each Settlement Fund (for a total of up to $130,000 combined)

to pay for the aforementioned notice costs, implement the notice program, and associated

administration costs. 4

           In sum, the Settlement Agreements: (1) are the result of extensive good-faith and hard-fought

negotiations between knowledgeable and skilled counsel; (2) were entered into after extensive factual

3
  Courts have regularly approved the award of substantial sums of money as future expenses for use in
prosecuting antitrust class actions. E.g., Order Grant. Mot. For Payment of Common Expenses and Class
Representatives Service Award, ECF No. 1165, In Re Disposable Contact Lens Antitrust Litig., No. 3:15-md-
2626-HES-JRK (M.D. Fla. March 4, 2020) (awarding $664,206 for future expenses); In re Automotive Parts
Antitrust Litig., No. 12-md-02311, 2018 WL 7108072, at *1 (E.D. Mich. Nov. 5, 2018) (awarding $3.4 million
for future expenses); In re Pool Prods. Distrib. Mkt. Antitrust Litig., MDL No. 2328, 2016 WL 235781, at *12
(E.D. La. Jan. 20, 2016) (awarding $633,212 for future expenses); In re Automotive Parts Antitrust Litig., No.
12-md-02311, 2015 WL 13715591, at *2 (E.D. Mich. Dec. 7, 2015) (awarding $2.9 million for future
expenses); In re Transpacific Passenger Air Transp. Ass’n, No. C-07-05634 CRB, 2015 WL 3396829, at *3
(N.D. Cal. May 26, 2015) (awarding $3 million for future expenses); Order Grant. Direct Purchaser Pltfs. Mot.
for the Advancement of Litig. Expenses from Settlement Funds, ECF No. 2474, In re TFT- LCD (Flat Panel)
Antitrust Litig., No. 07-md-01827 (N.D. Cal. Feb. 17, 2011) (awarding $3 million for future expenses); In re
Packaged Ice Antitrust Litig., No. 08-MD-01952, 2011 WL 717519, at *14 (E.D. Mich. Feb. 22, 2011)
(awarding $750,000 for future expenses).
4
    CIIPPs’ forthcoming motion for approval of notice plan will include a detailed cost estimate supporting this amount.

                                                            3
  Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 8 of 18 PageID #:45585



investigation and legal analysis; and (3) in the opinion of experienced Co-Lead Class Counsel, the

Settlement Agreements are fair, reasonable, and adequate. Based on both the monetary relief and

cooperation elements of the Settlement Agreements, Co-Lead Class Counsel submits that the

Settlement Agreements are in the best interests of the Certified Class members. (Flannery Decl. ¶

11.)

 IV.     THE SETTLEMENTS ARE ON BEHALF OF THE CERTIFIED CLASS

        On January 22, 2025, this Court certified a litigation class of commercial and indirect

institutional purchasers of turkey for injunctive relief and monetary damages. (ECF No. 1107). The

Court also appointed Cuneo, Gilbert and LaDuca, LLP and Barrett Law Group, P.A. as Co-Lead

Counsel for the Certified Classes. (Id. at 71). “If the court has certified a class prior to settlement, it

does not need to re-certify it for settlement purposes.” 4 NEWBERG AND RUBENSTEIN ON CLASS

ACTIONS, § 13:18 (6th ed.). CIIPPs reached the Settlement Agreements on behalf of the Certified

Class. Neither CIIPPs, Farbest Foods, nor Cooper Farms request any changes to the Certified Class,

so the Court need not re-certify it.

        CIIPPs have deferred notice of the Court’s order on class certification so as to realize the

efficiencies and cost savings that result from combining litigation class notice with notice of the

Settlements. As mentioned previously, CIIPPs will be moving separately for approval of a notice

plan which provides notice to the Certified Class of the certification of the litigation class as well as

the settlements with Farbest Foods and Cooper Farms.

 V.     SUMMARY OF SETTLEMENT NEGOTIATIONS AND TERMS

        A.      Farbest Foods.

        Co-Lead Class Counsel reached the Settlement Agreement with Farbest Foods through

confidential, arm’s lengths negotiations. (See Flannery Decl. ¶ 3). The Settlement culminated after

the Court granted CIIPPs’ motion for class certification. (Id. at ¶ 3). Given that this litigation has

been pending for over five years and now has a firm trial date, the parties have had ample opportunity

                                                   4
  Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 9 of 18 PageID #:45586



to assess the merits of the Certified Class members’ claims and Farbest Foods’ defenses through

extensive investigation, discovery, research, settlement discussion, and contested motion practice,

and to balance the value of the Certified Class members’ claims against the substantial risks and

expense of continuing litigation. The parties ultimately executed the Settlement Agreement on March

7, 2025. (See id.; Exhibit A, Flannery Decl.).

       B.      Cooper Farms

       Similarly, the Settlement Agreement with Cooper Farms was reached by Co-Lead Class

Counsel through confidential, arm’s length negotiations. (See Flannery Decl. ¶ 3). The Settlement

culminated shortly after the Court granted CIIPPs’ motion for class certification. (Id.). As with the

Farbest settlement, this litigation has been pending for over five years and now has a firm trial date,

and the parties have had ample opportunity to assess the merits of the Certified Class members’

claims and Cooper Farms’ defenses through extensive investigation, discovery, research, settlement

discussion, and contested motion practice, and to balance the value of the Certified Class members’

claims against the substantial risks and expense of continuing litigation. The parties ultimately

executed the Settlement Agreement on April 4, 2025. (See id.; Exhibit B, Flannery Decl.).

       C.      Terms of the Settlement Agreements.

       The terms of the Settlement Agreements are nearly identical. (See Flannery Decl. ¶ 9). The

Settlement Agreements are modeled after the Direct Purchaser Plaintiffs’ settlement agreement with

the Cargill Defendants, for which the Court has granted final approval (ECF No. 1128), and the

Direct Purchaser Plaintiffs’ settlement agreements with Farbest Foods and Cooper Farms, which the

Court recently preliminarily approved. (ECF No. 1230). Under the terms of the Settlement

Agreements, Farbest Foods and Cooper Farms will each pay $562,500 into separate interest-bearing

escrow accounts for the benefit of the Certified Class. (See, Settlement Agreements, Exhibits A and

B at ¶ 9). In addition to monetary relief, Farbest Foods and Cooper Farms will both provide



                                                 5
 Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 10 of 18 PageID #:45587



cooperation on the authenticity and foundation of certain documents CIIPPs intend to use at trial and

provide up to two trial witnesses. (Id. at ¶ 9).

        In exchange, CIIPPs and the Certified Class will, among other things, separately release all

Released Claims against the Settling Defendants that were, or could have been, brought in this

litigation arising from CIIPPs’ allegations. (See, Settlement Agreements at ¶ 15). The separate

releases do not extend to any other Defendants or to unrelated claims that are not the Released Claims

defined in the Settlement Agreements. (Id.).

        The Settlement Agreements refer to a judgment sharing agreement among certain Defendants,

and consistent with that agreement, should CIIPPs obtain a verdict and judgment against the Non-

Settling Defendants, those Non-Settling Defendants would not be jointly and severally liable for the

Settling Defendants’ share of the damages. (See, Settlement Agreements at ¶ 11).

        Subject to Court approval, the proceeds from the Settlements (with accrued interest) will be

used to (1) pay for notice costs and costs incurred in the administration and distribution of the

Settlements; (2) pay taxes and tax-related costs associated with the escrow accounts for the

Settlements; (3) a future distribution to the Certified Class in accordance with a plan to be submitted

at a later date; and (4) pay attorneys’ fees, litigation expenses, and service awards in accordance to a

plan to be filed in the future.

        Additionally, as noted earlier, and subject to Court approval, the Settlement Agreements

permit Co-Lead Class Counsel to separately withdraw up to $250,000 from each of the Settlement

Funds “to pay the costs of notice and for Preliminary Approval, Final Approval, and administration

of the claims process for this Settlement Agreement.” (See, Settlement Agreements, at ¶ 6.d). At this

time, Co-Lead Class Counsel ask the Court to permit them to withdraw up to $65,000 from each

Settlement Fund to pay for the aforementioned notice costs.

        In sum, the Settlement Agreements: (1) are the result of extensive good-faith negotiations



                                                   6
    Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 11 of 18 PageID #:45588



between knowledgeable and skilled counsel; (2) were entered into after extensive factual

investigation and legal analysis; and (3) in the opinion of experienced Co-Lead Class Counsel, the

Settlement Agreements are fair, reasonable, and adequate. Based on both the monetary relief and

cooperation elements of the Settlement Agreements, Co-Lead Class Counsel submits that the

Settlement Agreements are in the best interests of the Certified Class members. (Flannery Decl. ¶

11.).

    VI.    STANDARDS APPPLICABLE TO PRELIMINARY APPROVAL OF THE
           PROPOSED SETTLEMENTS

          A class action may be settled only with court approval. Fed. R. Civ. P. 23(c)(e). “It is

axiomatic that the federal courts look with great favor upon the voluntary resolution of litigation

through settlement.” Armstrong v. Bd. of Sch. Dirs., 616 F.2d 305, 312 (7th Cir. 1980), overruled on

other grounds; Felzen v. Andreas, 134 F.3d 873 (7th Cir. 1998). Before the court may give approval,

it must ensure that the proposed settlements are “fair, reasonable, and adequate. Fed. R. Civ. P.

23(e)(2).

          “The first step in district court review of a class action settlement is a preliminary, pre-

notification hearing to determine whether the proposed settlement is ‘within the range of possible

approval.” Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir. 1982); see also 4 NEWBERG AND

RUBENSTEIN ON CLASS ACTIONS § 13:14 (6th ed.). A proposed settlement falls within the “range of

possible approval” when it is conceivable that the proposed settlement will meet the standards applied

for final approval. See 4 NEWBERG AND RUBENSTEIN ON CLASS ACTIONS, § 11.25, at 38-39 (6th ed.)

(quoting Manual for Complex Litig., § 30,41 (3d ed.)). In other words, the Court must consider

whether it will likely be able to approve the Settlements as fair, reasonable, and adequate. (See Fed.

R. Civ. P. 23(e)(2) (listing the standard for final approval of a class action.). 5


5
 When considering preliminary approval of a settlement, the court does not conduct a “definitive proceeding
on the fairness of the proposed settlement,” and the court “must be careful to make clear that the determination
permitting notice to members of the class is not a finding that the settlement is fair, reasonable, and adequate.”

                                                       7
 Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 12 of 18 PageID #:45589



 VII.    THE COURT SHOULD APPROVE THE SETTLEMENTS UNDER RULE
         23(E)(2)

        To determine whether to approve a proposed settlement under Rule 23(e)(2) of the Federal

Rules of Civil Procedure, courts look to the factors in the text of the Rule, which a court must consider

when weighing final approval. See Fed. R. Civ. P. 23(e)(2) (“If the proposal would bind class

members, the court may approve it only after a hearing and only on finding that it is fair, reasonable,

and adequate after considering” the factors set forth in Rule 23(e)(2)); see, e.g., In re Payment Card

Interchange Fee and Merch. Discount Antitrust Litig., 330 F.R.D. 11, 28 (E.D.N.Y. 2019) (“Payment

Card”). Rule 23(e)(2) requires courts to consider whether:

                (A)      the class representatives and class counsel have adequately
                         represented the class;
                (B)      the proposal was negotiated at arm’s length;
                (C)      the relief provided for the class is adequate, taking into account:
                         (i)    the costs, risks, and delay of trial and appeal;
                         (ii) the effectiveness of any proposed method of distributing relief
                                to the class, including the method of processing class-member
                                claims, if required;
                         (iii) the terms of any proposed award of attorney’s fees, including
                                timing of payment; and
                         (iv) any agreement required to be identified under Rule 23(e)(3);
                                and
                (D)      the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2). Factors (A) and (B) under Rule 23(e)(2) constitute the “procedural” analysis

factors and examine “the conduct of the litigation and of the negotiations leading up to the proposed

settlement.” Fed. R. Civ. P. 23 advisory committee’s note to 2018 amendment. 6 Factors (C) and (D)

under Rule 23(e)(2) constitute the “substantive” analysis factors and examine “[t]he relief that the

settlement is expected to provide to class members. ” Id. A “presumption of fairness, adequacy, and


In re Mid-Atlantic Toyota Antitrust Litig., 564 F. Supp. 1379, 1384 (D. Md. 1983) (quoting In re Montgomery
Cty. Real Estate Antitrust Litig., 83 F.R.D. 305, 315-16 (D. Md. 1979)). The court will make that determination
at the fairness hearing, when it can assess the fairness, reasonableness, and adequacy of the proposed
settlement.
6
  The Court has already determined that the Class Representatives and Co-Lead Class Counsel adequately
represent the Certified Class in its Order granting CIIPPs’ motion for class certification. (ECF No. 1107 at 10-
11). Therefore, this factor is not addressed herein.

                                                      8
 Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 13 of 18 PageID #:45590



reasonableness may attach to a class settlement reached in arm’s length negotiations between

experienced, capable counsel after meaningful discovery.” Am. Int’l Grp., Inc. v. ACE INA Holdings,

Inc., No. 07-cv-298, 2012 WL 651727, at *10 (N.D. Ill. Feb 28, 2012).

       Because the proposed Settlements meet all factors under Rule 23(e)(2), CIIPPs respectfully

submit that the Court will likely grant final approval of the proposed Settlements, and thus the Court

should grant Preliminary Approval of the proposed Settlements at this time. Indeed, these proposed

Settlements are substantially similar to those recently preliminarily approved by the Court between

the Direct Purchaser Plaintiff Class and the Settling Defendants. (ECF No. 1230).

        A.      The Settlements are Fair and Resulted from Arm’s-Length
                Negotiations

       Rule 23(e)(2)(B) requires that “the proposal was negotiated at arm’s length.” There is an

initial presumption that a proposed settlement is fair and reasonable when it was the result of arm’s

length negotiations. Goldsmith v. Tech. Solutions Co., No. 92-C-4374, 1995 WL 17009594, at *3 n.2

(N.D. Ill. Oct. 10, 1995) (“[I]t may be presumed that the agreement is fair and adequate where, as

here, a proposed settlement is the product of arm’s-length negotiations.”). Settlements proposed by

experienced counsel and which result from arm’s-length negotiations are entitled to deference from the

Court. See, e.g., In re Linerboard Antitrust Litig., 292 F. Supp. 2d 631, 640 (E.D. Pa. 2003) (“A

presumption of correctness is said to attach to a class settlement reached in arms-length negotiations

between experienced, capable counsel after meaningful discovery.”) (quoting Hanrahan v. Britt, 174

F.R.D. 356, 366 (E.D. Pa. 1997)). The initial presumption in favor of such settlements reflects courts’

understanding that vigorous negotiations between seasoned counsel protect against collusion and

advance the fairness concerns of Rule 23(e). In making the determination as to whether a proposed

settlement is fair, reasonable, and adequate, courts evaluate the judgment of the attorneys for the

parties regarding the “strength of plaintiffs’ case compared to the terms of the proposed settlement.”

In re AT&T Mobility Wireless Data Servs. Sales Litig., 270 F.R.D. 330, 346 (N.D. Ill. 2010).


                                                 9
 Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 14 of 18 PageID #:45591



        The proposed Settlements meet the standards for Preliminary Approval. Both Settlement

Agreements are individually the product of extensive arm’s-length settlement negotiations, which

included several rounds of give-and-take between Co-Lead Counsel and counsel for Farbest Foods and

Cooper Farms, respectively. (Flannery Decl. ¶ 6). As explained above, the negotiations of the

Settlements largely took place after discovery was completed and the Court had issued its Class

Certification Order (ECF No. 1107). (Flannery Decl. ¶ 6). Moreover, during these negotiations Co-

Lead Class Counsel were focused on obtaining the best possible results for the Certified Class. (Id.).

Therefore, based on both the monetary and cooperation elements of the Settlement Agreements

outlined above, Co-Lead Counsel aver that these Settlements are fair, reasonable, and adequate for the

Class. (Id. at ¶ 11).

         B.      The Relief Provided for the Class is Substantial and Tangible

        In assessing whether the Settlement provides adequate relief for the Class under Rule

23(e)(2)(C), the Court should consider: (i) the costs, risks, and delay of trial and appeal; (ii) the

effectiveness of any proposed method of distributing relief to the Class, including the method of

processing Class members’ claims, if required; (iii) the terms of any proposed award of attorney’s fees,

including timing of payment; and (iv) any agreement required to be identified under Rule 23(e)(3).

Fed. R. Civ. P. 23(e)(2)(C)(i-iv).

        “Settlement is favored if settlement results in substantial and tangible present recovery,

without the attendant risk and delay of trial.” See, e.g., Payment Card, 330 F.R.D. at 36 (citations

omitted). Here, for the reasons described above in Section V(A), the Settlements are fair and resulted

from arm’s-length negotiations. The monetary relief provides a significant amount of money

recovered for the Certified Class from Defendants. (Flannery Decl. ¶ 9). In addition to the monetary

relief, the cooperation that the Certified Class will receive from the Settling Defendants will bolster

CIIPPs’ claims against the remaining Defendants at trial. (Id. at ¶¶ 5, 6, 11). Co-Lead Counsel



                                                  10
 Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 15 of 18 PageID #:45592



thoroughly evaluated the relative strengths and weaknesses of the respective litigation positions and

determined that the Settlements bring substantial benefits to the Class and avoid the delay and

uncertainty of continuing protracted litigation with Settling Defendants. (Id.). In addition, during

negotiations, there was no discussion, let alone agreement, regarding the amount of attorneys’ fees

CIIPPs’ counsel ultimately may ask the Court to award in this case, and CIIPPs’ counsel are not

seeking fees at this time. (Id. at ¶ 7). The benefits of settlement outweigh the costs and risks associated

with continued litigation with Settling Defendants and will weigh in favor of granting Final Approval.

         C.      The Settlements Treat Class Members Equitably Relative to Each
                 Other

        Consideration under this Rule 23(e)(2) factor “could include whether the apportionment of

relief among class members takes appropriate account of differences among their claims, and whether

the scope of the release may affect class members in different ways that bear on the apportionment

of relief.” Fed. R. Civ. P. 23 advisory committee’s note to 2018 amendment.

        Here, the named plaintiffs are treated the same as all other Class members in the proposed

Settlements, and all Class members similarly share a common interest in obtaining Settling

Defendants’ substantial cooperation to prosecute this case. (Flannery Decl. ¶ 8; Settlement

Agreements, Recitals, pp. 2-3). The release applies uniformly to Class members and does not affect

the apportionment of the relief to Class members. (Flannery Decl. ¶ 8; Settlement Agreements, ¶¶ 14-

16). Accordingly, this factor will weigh in favor of granting Final Approval. See, e.g., Payment Card,

330 F.R.D. at 47.

      In sum, the Settlement Agreements: (1) provide substantial benefits to the Class; (2) are the

result of extensive arm’s-length negotiations between knowledgeable and skilled counsel; (3) were

entered into after extensive factual investigation and legal analysis; and (4) in the opinion of

experienced counsel, are fair, reasonable, and adequate to the Class. Accordingly, Co-Lead Counsel

believe that the Settlement Agreements are in the best interests of the Class members and should be


                                                   11
 Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 16 of 18 PageID #:45593



preliminarily approved by the Court.

 VIII. CIIPPS WILL SUBSEQUENTLY PROVIDE A PROPOSED NOTICE PLAN

       After preliminary approval of a settlement agreement, class members must be notified of the

settlement. Fed. R. Civ. P. 23(e)(1)(B). Co-Lead Class Counsel will submit a motion for leave to

disseminate notice and that motion will include a proposed form, method, and date for

dissemination of notice as to the Settlement Agreements. CIIPPs expect to file that motion shortly

after filing this Preliminary Approval motion.

 IX.    CONCLUSION

       For the reasons stated herein, the CIIPPs respectfully request that the Court preliminarily

approve the Settlements with Farbest Foods and Cooper Farms. CIIPPs will submit a separate motion

seeking approval of a proposed notice plan and setting a schedule for the dissemination of notice to

the Certified Class and Final Fairness Hearing for the Settlement Agreement.




                                                 12
 Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 17 of 18 PageID #:45594




Dated: April 29, 2025                     By: /s/draft
                                          Michael J. Flannery
                                          CUNEO GILBERT & LADUCA, LLP
                                          Two CityPlace Drive
                                          St. Louis, MO 63141
                                          Telephone: (314) 226-1015
                                          mflannery@cuneolaw.com

                                          Evelyn Yifei Riley (pro hac vice)
                                          Cody McCracken (pro hac vice)
                                          Lissa Morgans (pro hac vice)
                                          CUNEO GILBERT & LADUCA, LLP
                                          4725 Wisconsin Ave., NW, Suite 200
                                          Washington, DC 20016
                                          Telephone: (202) 789-3960
                                          evelyn@cuneolaw.com
                                          cmccracken@cuneolaw.com
                                          lmorgans@cuneolaw.com

                                          Don Barrett
                                          Katherine Barrett Riley
                                          Sterling Aldridge
                                          BARRETT LAW GROUP, P.A.
                                          P.O. Box 927
                                          404 Court Square
                                          Lexington, MS 39095
                                          Telephone: (662) 834-2488
                                          dbarrett@barrettlawgroup.com
                                          kbriley@barrettlawgroup.com
                                          saldridge@barrettlawgroup.com

                                          Co-Lead Class Counsel for the Commercial
                                          and Institutional Indirect Purchaser
                                          Plaintiff Class




                                        13
 Case: 1:19-cv-08318 Document #: 1255 Filed: 04/29/25 Page 18 of 18 PageID #:45595



                                   CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that on April 29, 2025, a copy of the foregoing

was electronically filed with the Clerk of Court using the Court’s CM/ECF system, which will send

notification of the filing to all counsel of record.

                                                By: /s/ draft




                                                       14
